Case 1:99-cV-01274-.]DB-tmp Document 90 Filed 06/09/05 Page 1 of 3 Page|D 76

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UNITED sTATES DISTRICT COURT ` ‘”'

wESTERN DISTRICT 0F TENNESSEE 05 JUH -9 pH h. 314
EASTERN DIVISION AT JACKSON '

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aaa "'f»§l"‘?‘~.@é'?
JAMES CREAMER, ) 4 i"t'“'”*“$
)
Plaintiff )
)
v. ) Case No.: 1: 99-0]274-Bre-P
)
CORRECTIONS CORPORATION OF )
AMERICA, et al., )
)
[}efendants )

 

AGREED ORDER I~IOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures Of counsel for all parties beloW, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005, This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the

scheduled Status Conference on June 24, 2005.

 

 

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nated; this day or Jv\/\J\ , 2005.
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UNITED STATESMS=FR+G'P JUDGE
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Case 1:99-cV-01274-.]DB-tmp Document 90 Filed 06/09/05 Page 2 of 3 Page|D 77

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

`I certify that a copy of the foregoing has been Served by U.S. mail upon Wayne
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`Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

Columbia, SC 29201 on June , 2005.

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By:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 1:99-CV-01274 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

